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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


In re:                                            CASE NO: 6:17-bk-06539-CCJ
Patricia A Hartwig,

      Debtor(s).
_____________________________/

 TRUSTEE'S OBJECTION TO SECOND AMENDED MOTION TO MODIFY CONFIRMED
                                PLAN

       COMES NOW, Laurie K. Weatherford, the Chapter 13 Trustee, and objects to the
Debtors’ Second Amended Motion to Modify Confirmed Plan, and as grounds states as follows:

        1.      The Debtors filed a Second Amended Motion to Modify (Dkt 60) to include
arrears due to failed mediation.

        2.     That the Debtor is proposing to balloon $100,000 in July of 2020 to pay toward
their arrears.

        WHEREFORE, the Trustee prays that this Court will deny the Debtor’s Second
Amended Motion to Modify Confirmed Plan for all of the reasons outlined in this Objection, and
for such other relief as the Court deems appropriate.

                                    CERTIFICATE OF SERVICE
       Copies of this document were furnished by first class U.S. Mail or by electronic
transmission to the parties listed below on the 20th day of May, 2019.

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